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                                   4                                UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                         IN RE STITCH FIX, INC. SECURITIES
                                   7     LITIGATION                                       Case No. 3:18-cv-06208-JD

                                   8
                                                                                          JUDGMENT
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                                  12
Northern District of California
 United States District Court




                                  13           Pursuant to Federal Rule of Civil Procedure 58, and the order dismissing the complaint

                                  14   with prejudice under Federal Rule of Civil Procedure 12(b)(6), Dkt. No. 137, judgment is entered

                                  15   against lead plaintiff.

                                  16           IT IS SO ORDERED.

                                  17   Dated: October 1, 2021

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                                                                                                  JAMES DONATO
                                  20                                                              United States District Judge
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